            Case 1:17-cv-01423-JEB Document 13 Filed 02/05/18 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
________________________________________
                                         )
CAUSE OF ACTION INSTITUTE,               )
                                         )
                  Plaintiff,             )
                                         )
         v.                              )  Civil Action No. 17-01423 (JEB)
                                         )
U.S. DEPARTMENT OF JUSTICE,              )
                                         )
                  Defendant.             )
________________________________________ )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order dated January 8, 2018, the parties have met,

conferred, and hereby report the following:

       1.       Defendant the Department of Justice (“DOJ”) has completed its production to

Plaintiff, Cause of Action Institute (“CoA Institute”), in response to CoA Institute’s Freedom of

Information Act (“FOIA”) request for certain communications of the Office of Information Policy

(“OIP”) and Office of Legislative Affairs (“OLA”).

       2.       The parties have engaged in discussions and have resolved certain issues related to

this litigation but several issues remain in dispute. Accordingly, the parties believe it would be

appropriate to proceed with summary judgment briefing at this time and propose the following

briefing schedule:

       •     April 6, 2018 – Defendant shall file its motion for summary judgment;

       •     May 4, 2018 – Plaintiff shall file its cross-motion for summary judgment and

             opposition to Defendants’ motion for summary judgment;

       •     May 25, 2018 – Defendant shall file its opposition to Plaintiff’s cross-motion for

             summary judgment and reply in support of Defendants’ motion for summary judgment;
           Case 1:17-cv-01423-JEB Document 13 Filed 02/05/18 Page 2 of 2



       •    June 15, 2018 – Plaintiff shall file its reply in support of its cross-motion for summary

            judgment.

Dated: February 5, 2018                               Respectfully submitted,

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